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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                                     Criminal Action No. 2:14-cr-42-4

 STEVIE LEA SHARP,
           Defendant.

                      OPINION/REPORT AND RECOMMENDATION
                    CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Stevie Lea Sharp, in person and by counsel, Harry A. Smith III, appeared before me on February 10,

 2015. The Government appeared by Stephen Warner, its Assistant United States Attorney. The

 Court determined that Defendant was prepared to enter a plea of “Guilty” to Count Six of the

 Superseding Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

        The Court first inquired whether Defendant was a citizen of the United States. Defendant

 responded that she was a citizen. The undersigned asked Defendant whether she understood that if

 she were not a citizen of the United States, by pleading guilty to a felony charge she would be subject

 to deportation at the conclusion of any sentence; that she would be denied future entry into the

 United States; and that she would be denied citizenship if she ever applied for it. Defendant stated

 that she understood.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the

 Government if the agreement was the sole agreement offered to Defendant. The Government

 responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for
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 the Government to summarize the written plea agreement. Defendant stated that the agreement as

 summarized by counsel for the Government was correct and complied with her understanding of the

 agreement. The Court ORDERED the written plea agreement.

        The Court next inquired of Defendant concerning her understanding of her right to have an

 Article III Judge hear the entry of her guilty plea and her understanding of the difference between

 an Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that she

 voluntarily waived her right to have an Article III Judge hear and accept her plea and voluntarily

 consented to the undersigned Magistrate Judge hearing her plea, and tendered to the Court a written

 Waiver of Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver

 and consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred

 in by the signature of the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 his counsel and the representations of the Government, the Court finds that the oral and written

 waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Stevie Lea Sharp, only after having had her rights fully explained to her and having a full

 understanding of those rights through consultation with her counsel, as well as through questioning

 by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

 Magistrate Judge filed and made part of the record.

        The undersigned then reviewed with Defendant Count Six of the Superseding Indictment,

 including the elements the United States would have to prove at trial, charging her with aiding and

 abetting the distribution of oxycodone, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 18


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 U.S.C. § 2. The undersigned then reviewed with Defendant the statutory penalties applicable to an

 individual adjudicated guilty of the felony charge contained in Count Six of the Superseding

 Indictment, the impact of the sentencing guidelines on sentencing in general, and inquired of

 Defendant as to her competency to proceed with the plea hearing. From said review the undersigned

 Magistrate Judge determined Defendant understood the nature of the charge pending against her and

 understood the possible statutory maximum sentence which could be imposed upon her conviction

 or adjudication of guilty on that charge was imprisonment for a term of not more than twenty (20)

 years; understood that a fine of not more than $1,000,000.00 could be imposed; understood that both

 fine and imprisonment could be imposed; understood she would be subject to a period of at least

 three (3) years of supervised release; and understood the Court would impose a special mandatory

 assessment of $100.00 for the felony conviction payable on or before the date of sentencing. She also

 understood that her sentence could be increased if she had prior firearm offenses, violent felony

 convictions, or prior drug convictions. She also understood she might be required by the Court to

 pay the costs of her incarceration and supervised release.

        The undersigned also reviewed with Defendant her waiver of appellate rights as follows:

 Ct.    Did you discuss with your lawyer that you have a right to appeal your conviction and your

        sentence to the Fourth Circuit Court of Appeals, which is located in Richmond, Virginia?

 Def.   Yes, Your Honor.

 Ct.    Did you also discuss with your lawyer that you may be able to file what is commonly called

        a writ of habeas corpus motion under one of the statutes that relate to habeas corpus,

        including, but not limited to, 28 U.S.C. § 2255?

 Def.   Yes, Your Honor.


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 Ct.    Now, Ms. Sharp, if your actual sentence is consistent with a Guideline level of 12 or lower,

        Guideline lower in that instance means after adjustments upward or downward, it’s the final

        Guideline level, then you give up right to directly appeal your conviction and your sentence

        to the Fourth Circuit Court of Appeals and you give up your right to collaterally attack or

        challenge the sentence and how it’s being executed by filing a writ of habeas corpus motion,

        particularly under 28 U.S.C. § 2255?

 Def.   Yes, Your Honor.

 Ct.    Did you intend to give up your right to appeal and collaterally attack as set forth in paragraph

        13, Ms. Sharp?

 Def.   Yes, Your Honor.

 Ct.    Do you each understand that the only thing you’re reserving to yourself is the right to file a

        collateral attack claiming that there was ineffective assistance of counsel or prosecutorial

        misconduct that you discovered after today?

 Def.   Yes, Your Honor.

 Ct.    Do you know of any prosecutorial misconduct or ineffective assistance of your counsel as

        you sit here today, Ms. Sharp?

 Def.   No, Your Honor.

        From the foregoing colloquy the undersigned determined that Defendant understood her

 appellate rights and knowingly gave up those rights pursuant to the condition contained in the written

 plea bargain agreement.

        The undersigned Magistrate Judge further examined Defendant relative to her

 knowledgeable and voluntary execution of the written plea bargain agreement, and determined the


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 entry into said written plea bargain agreement was both knowledgeable and voluntary on the part of

 Defendant. The undersigned then inquired of Defendant regarding her understanding of the written

 plea agreement. Defendant stated she understood the terms of the written plea agreement and also

 stated that it contained the whole of her agreement with the Government and no promises or

 representations were made to her by the Government other than those terms contained in the written

 plea agreement.

        The undersigned Magistrate Judge further inquired of Defendant, her counsel, and the

 Government as to the non-binding recommendations and stipulations contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Six

 of the Superseding Indictment, the undersigned Magistrate Judge would write the subject Report and

 Recommendation and would further order a pre-sentence investigation report be prepared by the

 probation officer attending the District Court. The undersigned advised the Defendant that the

 District Judge would adjudicate the Defendant guilty of the felony charged under Count Six of the

 Superseding Indictment. Only after the District Court had an opportunity to review the pre-sentence

 investigation report, would the District Court make a determination as to whether to accept or reject

 any recommendation or stipulations contained within the plea agreement or pre-sentence report. The

 undersigned reiterated to the Defendant that the District Judge may not agree with the

 recommendations or stipulations contained in the written agreement. The undersigned Magistrate

 Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

 event the District Court Judge refused to follow the non-binding recommendations or stipulations

 contained in the written plea agreement and/or sentenced her to a sentence which was different from



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 that which she expected, she would not be permitted to withdraw her guilty plea. Defendant and her

 counsel each acknowledged their understanding and Defendant maintained her desire to have her

 plea of guilty accepted.

        Defendant also understood that her actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

 and Defendant stated that she understood, that the Sentencing Guidelines are no longer mandatory,

 and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced her to a

 higher sentence than she expected, she would not have a right to withdraw her guilty plea.

 Defendant further stated her attorney showed her how the advisory guideline chart worked but did

 not promise her any specific sentence at the time of sentencing. Defendant stated that she understood

 her attorney could not predict or promise her what actual sentence she would receive from the

 sentencing judge at the sentencing hearing. Defendant further understood there was no parole in the

 federal system, although she may be able to earn institutional good time, and that good time was not

 controlled by the Court, but by the Federal Bureau of Prisons.

        The parties agreed that the Government would provide a proffer to provide an independent

 basis in fact for Defendant’s plea. The Government proffered that on June 6, 2013, during the

 controlled buy described in Count Five of the Superseding Indictment, Defendant told the

 confidential informant (“CI”) that she would need to “re up” before she could sell more oxycodone.

 She and the CI agreed that they would meet later that day in the parking lot of the Wal-Mart in

 Elkins, West Virginia, within the Northern District of West Virginia. Prior to the buy, two West

 Virginia State Police sergeants searched the CI and provided the CI with currency. The CI then met

 Defendant in the Wal-Mart parking lot. Defendant was driving co-defendant Gregory Scott’s Jeep,




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 and Scott was in the vehicle with her. Inside the Jeep, Defendant sold the CI four (4) 30 mg

 oxycodone pills for $160.00.

        Defendant stated she heard, understood, and did not disagree with the Government’s proffer.

 The undersigned United States Magistrate Judge concludes the offense charged in Count Six of the

 Superseding Indictment is supported by an independent basis in fact concerning each of the essential

 elements of such offense. That independent basis is provided by the Government’s proffer.

        Thereupon, Defendant, Stevie Lea Sharp, with the consent of her counsel, Harry A. Smith

 III, proceeded to enter a verbal plea of GUILTY to the felony charge contained in Count Six of the

 Superseding Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

 understood her right to have an Article III Judge hear and accept her plea and elected to voluntarily

 consent to the undersigned United States Magistrate Judge hearing and accepting her plea; Defendant

 understood the charges against her, not only as to the Superseding Indictment as a whole, but in

 particular as to Count Six of the Superseding Indictment; Defendant understood the consequences

 of her plea of guilty, in particular the maximum statutory penalty to which she would be exposed;

 Defendant understood her waiver of appellate rights explained this date; Defendant made a knowing

 and voluntary plea of guilty to Count Six of the Superseding Indictment; and Defendant’s plea is

 independently supported by the Government’s proffer, which provides, beyond a reasonable doubt,

 proof of each of the essential elements of the charge to which Defendant has pled guilty.




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         The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

 Six of the Superseding Indictment herein be accepted conditioned upon the Court’s receipt and

 review of this Report and Recommendation.

         The undersigned further directs that a pre-sentence investigation report be prepared by the

 adult probation officer assigned to this case.

         Defendant is released pursuant to the Order Setting Conditions of Release previously entered

 in this case.

         Any party may, within fourteen (14) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy

 of such objections should also be submitted to the Honorable John Preston Bailey, Chief United

 States District Judge. Failure to timely file objections to the Report and Recommendation set forth

 above will result in waiver of the right to appeal from a judgment of this Court based upon such

 report and recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir.

 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas

 v. Arn, 474 U.S. 140 (1985).

         The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

         Respectfully submitted this 12th day of February, 2015.

                                                       John S. Kaull
                                                       JOHN S. KAULL
                                                       UNITED STATES MAGISTRATE JUDGE




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